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FILED

OCT - 8 2071

Clerk, U S District Court
District Of Montana
Billings

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION

UNITED STATES OF AMERICA,
CR 15-67-BLG-SPW-1
Plaintiff,
VS. ORDER
ZACHARY JAMES LOZIER,
Defendant.

 

 

For the reasons stated on the record, ZACHARY JAMES LOZIER is hereby
released from the custody of the U.S. Marshals Service.
DATED this 6th day of October, 2021.

Lorca. there.

~ SUSAN P. WATTERS
U.S. DISTRICT JUDGE
